                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: William Barrier Roberts                   Case No.: 18-83442-CRJ-7
        SSN: xxx-xx-9314

              Debtor.                              Chapter 7
        _________________________


 Tazewell T. Shepard,
 as Trustee for the Chapter 7 Bankruptcy
 Estate of William Barrier Roberts

               Plaintiff,

 v.
                                                   AP No.: 21-80040-CRJ
 Roscoe Owen Roberts,
 in his capacity as personal representative
 of William Barrier Roberts, deceased.

               Defendant.


         TRUSTEE’S RESPONSE TO DEBTOR’S MOTION FOR EXTENSION
        OF TIME TO FILE ANSWER AND MOTION TO STAY PROCEEDINGS;
                  AND OWEN ROBERTS’S JOINTER THERETO

       COMES NOW Tazewell T. Shepard III, trustee of the bankruptcy estate of the above-
captioned Chapter 7 debtor (the “Trustee”), and responds to William Barrier Roberts’s (the
“Debtor”) Motion for Extension of Time to File Answer and Motion to Stay Proceedings; and
Roscoe Owen Roberts’s (“Owen Roberts”) Jointer thereto as follows:

       1.      This lawsuit concerns whether the Debtor is entitled to a Chapter 7 discharge
pursuant to 11 U.S.C. § 727. The satisfaction of allowed claims constitutes is a separate, unrelated
issue to be administered outside of this adversary proceeding.

       2.      Further, the Trustee has no reason to believe that the bankruptcy estate presently
possesses adequate funds to pay all administrative, priority, and unsecured claims in this case in
full. Satisfaction or withdrawal of First National Bank’s proofs of claim would not affect this
analysis, as suggested by the Debtor. ECF Doc. 7, ¶ 2.



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        3.     The Trustee does not oppose the Movants’ requests for a continuance if more time
is needed to file an Answer. The Trustee does oppose the Movants’ request to stay this proceeding
because she relief is unwarranted and will delay full administration of the Debtor’s bankruptcy
case.

        WHEREFORE, premises considered, the Trustee prays that this Honorable Court will enter
an Order for such relief as the Court deems just and proper.

        Respectfully submitted this the 14th day of April, 2021.

                                              /s/ Tazewell T. Shepard IV
                                              Kevin M. Morris
                                              Tazewell T. Shepard IV
                                              Attorneys to Chapter 7 Trustee
                                              SPARKMAN, SHEPARD & MORRIS, P.C.
                                              P.O. Box 19045
                                              Huntsville, AL 35804
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                                 CERTIFICATE OF SERVICE

        This is to certify that I have this the 14th day of April, 2021 served the foregoing document
upon Kevin D. Heard, Attorney for Owen Roberts, Stuart M. Maples, Attorney for William Barrier
Roberts, and all parties requesting notice, by electronic service through the Court’s CM/ECF
system and/or by placing a copy of the same in the U. S. Mail, postage prepaid.

                                              /s/ Tazewell T. Shepard IV
                                              Tazewell T. Shepard IV




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